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                                   3                                    UNITED STATES DISTRICT COURT

                                   4                               NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     ASUS COMPUTER INTERNATIONAL, et                    Case No. 15-cv-01716-BLF
                                         al.,
                                   8
                                                          Plaintiffs,                       ORDER RE: REDACTION OF ORDER
                                   9                                                        GRANTING IN PART AND DENYING
                                                  v.                                        IN PART DEFENDANTS’ MOTION
                                  10                                                        FOR SUMMARY JUDGMENT;
                                         INTERDIGITAL, INC., et al.,                        DENYING PLAINTIFFS’ MOTION
                                  11                                                        FOR SUMMARY JUDGMENT
                                                          Defendants.
                                  12                                                        [Re: ECF 341]
Northern District of California
 United States District Court




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                                               The Court’s Order Granting in Part and Denying in Part Defendants’ Motion for Summary
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                                       Judgment; Denying Plaintiffs’ Motion for Summary Judgment (ECF 341) has been filed
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                                       provisionally under seal because it contains information that the Court previously allowed to be
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                                       filed under seal due to its highly confidential and business-sensitive nature. The parties shall meet
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                                       and confer no later than January 11, 2019 and submit proposed redactions to the Court’s order (to
                                  18
                                       the extent any redaction is required), as well as supporting declaration(s) and a proposed order. If
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                                       no proposed redactions are received by 11:59 p.m. on January 11, 2019, the Court shall unseal the
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                                       order in its entirety.
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                                               IT IS SO ORDERED.
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                                       Dated: December 20, 2018
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                                                                                        ______________________________________
                                  26                                                    BETH LABSON FREEMAN
                                                                                        United States District Judge
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